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     Federal Defender
 2   CARO MARKS, Bar #159267
     Designated Counsel for Service
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     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     CLEMENTE CRUZ
 7
 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,          )   No. CR-S-10-354 EJG
                                        )
14                  Plaintiff,          )
                                        )    STIPULATION & ORDER
15       v.                             )
                                        )
16   CLEMENTE RUEDA CRUZ, and           )   Date: March 4, 2011
     ARMANDO GARCIA ALEMAN              )   Time: 10:00 a.m.
17                                      )   Judge: Hon. Edward J. Garcia
                    Defendants.         )
18                                      )
     _______________________________
19
20       IT IS HEREBY STIPULATED by and between Assistant United States
21   Attorney WILLIAM WONG, Counsel for Plaintiff, Attorney Caro Marks,
22   Counsel for Defendant CLEMENTE RUEDA CRUZ, and Attorney Dina L. Santos,
23   Counsel for Defendant ARMANDO GARCIA ALEMAN, and that the status
24   conference scheduled for February 4, 2011, be vacated and the matter be
25   continued to this Court's criminal calendar on March 4, 2011 at 10:00
26   a.m., for further status.
27       The parties request this continuance in order to give them time to
28   arrange and conduct “safety valve” debriefings under U.S.S.G. §5C1.2.
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 1   Agents in this case are not local, an interpreter will be needed for
 2   both defendants, and the parties need time to make the requisite
 3   “safety valve” arrangements.
 4       IT IS STIPULATED that time for trial under the Speedy Trial Act,
 5   18 U.S.C. § 3161 et. seq. be tolled pursuant to § 3161(h)(7)(A) &
 6   (B)(iv), Local code T-4 (allowing counsel reasonable time to prepare).
 7   The parties agree and stipulate that the ends of justice served in
 8   granting the continuance and allowing the defendants further time to
 9   prepare, outweigh the best interests of the public and the defendant in
10   a speedy trial.
11       The Court is advised that all counsel have conferred about this
12   request, that they have agreed to the March 4, 2011 date, and that Mr.
13   Wong and Ms. Santos have authorized Ms. Marks to sign this stipulation
14   on their behalf.
15       IT IS SO STIPULATED.
16   Dated: February 2, 2011                 /s/ Dina L. Santos
                                            DINA L. SANTOS
17                                          Attorney for Defendant
                                            ARMANDO GARCIA ALEMAN
18
19   Dated: February 2, 2011                 /s/ Caro Marks
                                            CARO MARKS
20                                          Attorney for Defendant
                                            CLEMENTE RUEDA CRUZ
21
22   Dated: February 2, 2011                 /s/ William Wong
                                            WILLIAM WONG
23                                          Assistant United States Attorney
                                            Attorney for Plaintiff
24
25                                    O R D E R
26       IT IS SO ORDERED this 2nd day of February, 2011.
27                                    /s/ Edward J. Garcia
                                      Hon. Edward J. Garcia
28                                    United States District Judge


     Name of Pleading                      -2-
